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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA

 KIPP DODDS, Individually and on Behalf       )
 of All Others Similarly Situated,            )
                                              )
                      Plaintiff,              )
                                              )   Case No. 1:16-cv-25038-KMM
        v.                                    )
                                              )
 B/E AEROSPACE, INC., AMIN J.                 )
 KHOURY, JAMES F. ALBAUGH,                    )
 DAVID J. ANDERSON, RICHARD G.                )
 HAMERMESH, JONATHAN M.                       )
 SCHOFIELD, MARY M.                           )
 VANDEWEGHE, and JOHN T. WHATES,              )
                                              )
                      Defendants.             )

                STIPULATION TO WITHDRAW PLAINTIFF’S MOTION FOR A
                      PRELIMINARY INJUNCTION AS MOOT

        WHEREAS, on October 23, 2016, B/E Aerospace, Inc. (“B/E Aerospace” or the

 “Company”) announced that it had entered into a definitive merger agreement (the “Merger

 Agreement”), pursuant to which Quarterback Merger Sub Corp. (“Merger Sub”), a wholly

 owned subsidiary of Rockwell Collins, Inc. (“Rockwell Collins”) will acquire B/E Aerospace

 (the “Proposed Transaction”);

        WHEREAS,       on   November 23,      2016,   B/E   Aerospace filed    a   joint   proxy

 statement/prospectus (the “Proxy”) with the Securities and Exchange Commission (“SEC”) in

 support of the Proposed Transaction;

        WHEREAS, on December 5, 2016, Plaintiff Kipp Dodds, a shareholder of B/E

 Aerospace, filed a Class Action Complaint in the above captioned action (the “Action”) alleging

 Defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 and Rule
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 14a-9 promulgated thereunder (the "Exchange Act'') by causing the allegedly materially

 incomplete and misleading Proxy to be filed;

           WHEREAS, on January 5, 2017, Plaintiff in the Action filed a motion for temporary

 restraining order and preliminary injunction to enjoin the shareholder vote on the Proposed

 Transaction unless and until Defendants cured their alleged Exchange Act violations [ECF No.

 8] (the “Motion for PI”);

           WHEREAS, subsequent to the filing of the Motion for PI, counsel for the parties

 discussed what additional disclosures might resolve the claims raised in the Action and Motion

 for PI;

           WHEREAS, the parties identified categories of disclosures the Company would provide

 that Plaintiff agreed would moot the Motion for PI (the "Supplemental Disclosures");

           WHEREAS, Defendants filed an amended proxy containing the Supplemental

 Disclosures on January 10, 2017;

           WHEREAS, the Supplemental Disclosures moot the disclosure claims asserted in the

 Action, including the Motion for PI;

           NOW THEREFORE, pursuant to the stipulations of the parties, IT IS HEREBY

 ORDERED AND ADJUDGED THAT:

           Plaintiff’s Motion for PI is hereby withdrawn;




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                                        AGREED BY:

 Dated: January 20, 2017                        Respectfully submitted,

 MONTEVERDE & ASSOCIATES PC                      SHEPHERD, FINKELMAN, MILLER &
 Juan E. Monteverde                              SHAH, LLP
 The Empire State Building
 350 Fifth Avenue, 59th Floor                    s/ Scott R. Shepherd
 New York, NY 10118                              Scott R. Shepherd (Fl. Bar No. 69655)
 Tel: (212) 971-1341                             Nathan C. Zipperian (Fl. Bar No. 61525)
 E-mail: jmonteverde@monteverdelaw.com           1625 N. Commerce Parkway
                                                 Suite 320
 Attorneys for Plaintiff                         Fort Lauderdale, FL 33326
                                                 Telephone: 954/515-0123
                                                 Facsimile: 866/300-7367
                                                 Email: sshepherd@sfmslaw.com
                                                 Email: nzipperian@sfmslaw.com

                                                 Attorneys for Plaintiff



 AKERMAN LLP                                      SHEARMAN & STERLING LLP


 /s Michael C. Marsh                              /s Alan S. Goudis

 Michael C. Marsh (Fl. Bar No. 72796)             Alan S. Goudis
 Ryan A. Roman (Fl. Bar No. 25509)                Daniel Kahn
 Three Brickell City Centre                       599 Lexington Avenue
 98 Southeast Seventh St., Ste. 1100              New York, New York 10022
 Telephone: 305-374-5600                          Telephone: 212-848-4906
 Facsimile: 305-349-4554                          Facsimile: 646-848-4906

 Local Counsel for Defendants                     Attorneys for Defendants


        DONE AND ORDERED in Chambers at Miami, Florida this ___ day of January, 2017.



 __________________________
 U.S. District Judge




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